                                                                    Case 2:19-bk-23085-BB         Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42              Desc
                                                                                                   Main Document    Page 1 of 21


                                                                     1    JASON M. RUND, Chapter 7 Trustee (SBN 166514)
                                                                          SHERIDAN & RUND
                                                                     2    840 Apollo Street, Suite 351
                                                                          El Segundo, CA 90245
                                                                     3    Telephone: 310.640.1200
                                                                          Email: trustee@srlawyers.com
                                                                     4
                                                                          JEFFREY A. KRIEGER (SBN 156535)
                                                                     5    JKrieger@GreenbergGlusker.com
                                                                          KEITH PATRICK BANNER (SBN 259502)
                                                                     6    KBanner@GreenbergGlusker.com
                                                                          GREENBERG GLUSKER FIELDS CLAMAN
                                                                     7    & MACHTINGER LLP
                                                                          1900 Avenue of the Stars, 21st Floor
                                                                     8    Los Angeles, California 90067-4590
                                                                          Telephone: 310.553.3610
                                                                     9    Fax: 310.553.0687
                                                                    10    Proposed Attorneys for Jason M. Rund,
                                                                          Chapter 7 Trustee
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                                                                    11
                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




                                                                    12                               UNITED STATES BANKRUPTCY COURT
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                                                                    13                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                    14                                        LOS ANGELES DIVISION

                                                                    15
                                                                    16    In re:                                            Case No. 2:19-bk-23085-BB

                                                                    17    YOUTH POLICY INSTITUTE, INC.,                     Chapter 7

                                                                    18                         Debtor.                      CHAPTER 7 TRUSTEE’S APPLICATION
                                                                                                                            TO EMPLOY INTERCO MANAGEMENT
                                                                    19                                                      CORPORATION AS TRUSTEE’S FIELD
                                                                                                                            AGENT; DECLARATIONS OF TONY
                                                                    20                                                      SHOKRAI AND JASON M. RUND IN
                                                                                                                            SUPPORT THEREOF
                                                                    21
                                                                                                                            [NO HEARING REQUIRED]
                                                                    22
                                                                    23
                                                                    24             TO THE HONORABLE SHERI BLUEBOND, UNITED STATES BANKRUPTCY

                                                                    25   JUDGE, THE DEBTOR, THE UNITED STATES TRUSTEE, AND ALL PARTIES-IN-

                                                                    26   INTEREST HEREIN:

                                                                    27             Jason M. Rund, Chapter 7 Trustee (the “Trustee”) of the bankruptcy estate of Debtor

                                                                    28   Youth Policy Institute, Inc. (the “Debtor”), hereby submits his application (the “Application”) for

                                                                                                                                                        APPLICATION TO
                                                                                                                                                    EMPLOY FIELD AGENT
                                                                    Case 2:19-bk-23085-BB        Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42                  Desc
                                                                                                  Main Document    Page 2 of 21


                                                                     1   authority to employ, pursuant to sections 327(a) and 330 of title 11 of the United States Code,
                                                                     2   11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and Rule 2014(a) of the Federal Rules of
                                                                     3   Bankruptcy Procedure (the “Bankruptcy Rules” and each, a “Bankruptcy Rule”), Interco
                                                                     4   Management Corporation (“Interco”) as his field agent, effective as of December 5, 2019. The
                                                                     5   relief requested is based on this Application, the accompanying Declaration of Tony Shokrai (the
                                                                     6   “Shokrai Declaration”), the Declaration of Jason M. Rund (the “Rund Declaration”), and the
                                                                     7   concurrently filed notice of the Trustee’s Application. To the extent required, the Trustee further
                                                                     8   requests that the Court take judicial notice of the bankruptcy case docket and all pleadings filed
                                                                     9   herein, including the specific pleadings referenced in the Application. In support of his
                                                                    10   Application, the Trustee respectfully represents as follows:
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                                                                    11     I.   JURISDICTION AND VENUE
                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




                                                                    12          The Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and 1334.
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                                                                    13   The venue of this proceeding and this Application is proper pursuant to 28 U.S.C. §§ 1408 and
                                                                    14   1409. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). The Trustee
                                                                    15   consents to the entry of a final judgment or order with respect to the Application, if it is
                                                                    16   determined that the Court, absent consent of the parties, cannot enter a final order or judgment
                                                                    17   consistent with Article III of the United States Constitution. The statutory predicates for the relief
                                                                    18   requested herein are sections 327(a) and 330 of the Bankruptcy Code and Bankruptcy Rule
                                                                    19   2014(a).
                                                                    20    II.   BACKGROUND
                                                                    21          A.      Commencement of the Bankruptcy Case
                                                                    22          On November 5, 2019 (the “Petition Date”), the Debtor filed a voluntary petition (the
                                                                    23   “Petition”) under chapter 7 of the Bankruptcy Code, commencing the within chapter 7 bankruptcy
                                                                    24   case. The Debtor filed the Petition on an emergency basis without the required schedules,
                                                                    25   statements and other case commencement documents listed in section 2.1(b) of the Court Manual.
                                                                    26          On the Petition Date, the Trustee was duly appointed the chapter 7 trustee pursuant to
                                                                    27   section 701 of the Bankruptcy Code. The first chapter 7 meeting of creditors pursuant to section
                                                                    28   341(a) of the Bankruptcy Code (the “341(a) Meeting”) was held on December 11, 2019 at 9:00
                                                                                                                                                           APPLICATION TO
                                                                                                                          2
                                                                                                                                                       EMPLOY FIELD AGENT
                                                                    Case 2:19-bk-23085-BB       Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42                Desc
                                                                                                 Main Document    Page 3 of 21


                                                                     1   a.m., at which the Debtor’s representatives appeared. The 341(a) Meeting has since been
                                                                     2   continued to January 7, 2020 at 2:30 p.m.
                                                                     3          B.      The Debtor’s Petition Disclosures
                                                                     4          As detailed in the corporate resolutions accompanying the Debtor’s Petition (See Docket
                                                                     5   No. 1, the “Resolutions”), the Debtor is a non-profit corporation which operated after-school and
                                                                     6   extracurricular programs at nearly 100 sites in the Los Angeles area and focused on the highest
                                                                     7   need communities. In operating these programs, the Debtor was funded primarily through
                                                                     8   sizeable federal and state government grants. In fact, the Debtor’s most recent publicly available
                                                                     9   tax return shows grants totaling more than $40 million for both fiscal years 2016/2017 and
                                                                    10   2015/2016. The Resolutions further detail that in early 2019, an audit revealed irregularities in
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                                                                    11   expense reimbursements made to the former CEO, Dixon Slingerland (“Mr. Slingerland”), and
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                                                                    12   inaccurate disclosures and reports made in connection with the various grants the Debtor
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                                                                    13   received. The Debtor’s Board of Directors therefore formed a special committee and investigated
                                                                    14   these irregularities and, through its investigations concluded that Mr. Slingerland used the
                                                                    15   Debtor’s funds for unauthorized and personal expenditures, and further directed inaccurate
                                                                    16   reporting to certain government agencies.
                                                                    17          C.      The Debtor’s Disclosures in the Schedules and SOFA
                                                                    18          After obtaining an extension of the deadline to file its required disclosure schedules and
                                                                    19   statements (See Docket No. 9), on December 3, 2019, the Debtor filed its Schedules, Statement of
                                                                    20   Financial Affairs and other case commencement documents [Docket Nos. 15 & 16] (collectively,
                                                                    21   the “Schedules and SOFA”). The Schedules and SOFA have been prepared by the interim
                                                                    22   management of the Debtor. As such, included with the Schedules and SOFA a number of
                                                                    23   reservations, disclaimers and comments which note, among other things: (1) the Schedules and
                                                                    24   SOFA were prepared by the interim management of the Debtor, who had only directly overseen
                                                                    25   the Debtor’s affairs since September 2019; (2) the Debtor’s former CFO also resigned effective
                                                                    26   September 20, 2019; (3) the Debtor’s financial reporting system has not been fully integrated with
                                                                    27   all transaction information and cash accounts have not reconciled for over a year; and (4) much of
                                                                    28
                                                                                                                                                         APPLICATION TO
                                                                                                                         3
                                                                                                                                                     EMPLOY FIELD AGENT
                                                                    Case 2:19-bk-23085-BB          Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42               Desc
                                                                                                    Main Document    Page 4 of 21


                                                                     1   the information in the Schedules and SOFA was based on the information and belief of the
                                                                     2   interim management.
                                                                     3                        1.        General Disclosures Made in the Schedules and SOFA
                                                                     4          Despite being prepared by interim management based on limited information, the
                                                                     5   Schedules and SOFA provide a valuable snapshot of the Debtor’s affairs. The Schedules and
                                                                     6   SOFA, disclose, among other things, approximately 981 unsecured creditors – 834 priority
                                                                     7   unsecured creditors consisting primarily of wage claimants, and 147 general unsecured creditors.
                                                                     8          The Schedules and SOFA further disclose over $9.2 million in assets and approximately
                                                                     9   $12.2 million in liabilities, including a secured liability of approximately $4.35 million owed to
                                                                    10   Non Profit Finance Fund (“NFF”). The most significant asset categories disclosed by the Debtor
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                                                                    11   are “accounts receivable” – consisting generally of approximately $1.55 million in current, and
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                                                                    12   approximately $1.1 million in overdue, accounts, and “other property” of approximately $5.4
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                                                                    13   million in “unbilled” grants. The Trustee understands that most, if not all, of these assets relate to
                                                                    14   various government grants for programs previously conducted and are likely subject to certain
                                                                    15   reporting requirements and may be further subject to certain government agency claims.
                                                                    16          The Schedules and SOFA also disclose certain causes of action against Mr. Slingerland in
                                                                    17   the aggregate amount of approximately $1.77 million, the collection of which may require
                                                                    18   litigation and may implicate certain pre-petition insurance policies held by the Debtor.
                                                                    19                        2.        Disclosures Relating to the Location of the Debtor’s Personal
                                                                    20                                  Property
                                                                    21          The Schedules and SOFA further disclose that prior to the Petition Date, the Debtor was
                                                                    22   party to a commercial lease of certain real property located at 2707-11 Beverly Blvd., Los
                                                                    23   Angeles, CA 90057 (the “Beverly Facility”). The Trustee has visited the Beverly Facility and has
                                                                    24   observed that a substantial amount of personal property of the Debtor remains at the Beverly
                                                                    25   Facility, including but not limited to furniture, fixtures and equipment; supplies used for the
                                                                    26   Debtor’s various after-school and related programs; and paper records. The Schedules and SOFA
                                                                    27   further disclose the Debtor was party to pre-petition leases at the following locations, some or all
                                                                    28   of which may contain personal property and documents of the Debtor: (a) Pacoima/North Valley
                                                                                                                                                          APPLICATION TO
                                                                                                                          4
                                                                                                                                                      EMPLOY FIELD AGENT
                                                                    Case 2:19-bk-23085-BB        Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42                  Desc
                                                                                                  Main Document    Page 5 of 21


                                                                     1   Worksource Center, 1201 Truman St., Suite A, San Fernando CA 91340; (b) the Debtor’s former
                                                                     2   headquarters at 6464 Sunset Blvd., Suite 650, Los Angeles, CA 90028; (c) Hollywood
                                                                     3   FamilySource Center, Units 110-113, 1075 N. Western Ave., Los Aneles CA 90038; and (d)
                                                                     4   WorkSource Center (Temp. Site) 13420 Van Nuys Blvd., Suite 221, Pacoima, CA 91331.
                                                                     5          The Schedules and SOFA further disclose three off-site storage facilities, at which certain
                                                                     6   of the Debtor’s personal property and documents are stored: (a) Arleta Storage, 8918 Woodman
                                                                     7   Ave., Arleta, CA 91331; (b) Iron Mountain, 100 Campus Dr., Collegeville, PA 19426; and (c)
                                                                     8   Nova Storage, 13043 Foothill Blvd., Sylmar, CA 91342. The Trustee has further come to learn
                                                                     9   that certain personal property of the Debtor is being held at the following locations, which were
                                                                    10   not disclosed by the Debtor in the Schedules and SOFA: (a) Extra Space Storage, 4728 Fountain,
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                                                                    11   Los Angeles CA 90028; and (b) San Fernando Gardens Community Center, 10896 Lehigh Ave,
                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




                                                                    12   Pacoima, CA 91331. As the Debtor conducted programs at numerous sites in the greater Los
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                                                                    13   Angeles area, the Trustee anticipates there may be additional personal property of the Debtor held
                                                                    14   at locations currently unknown to the Trustee.
                                                                    15          D.      Government Agency Investigations/Grand Jury Subpoena
                                                                    16          The events detailed in the Debtor’s resolutions accompanying the Petition, especially
                                                                    17   those relating to alleged falsified or incorrect reporting to government agencies, has prompted
                                                                    18   numerous government agencies to launch investigations of their own into the affairs of the Debtor
                                                                    19   and Mr. Slingerland. One such investigation has been initiated by the U.S. Department of Labor,
                                                                    20   as to which a grand jury subpoena was served on the Trustee on November 26, 2019. The
                                                                    21   Trustee is working cooperatively with the assigned Assistant United States Attorney to provide all
                                                                    22   documents required to comply with the subpoena. The Trustee further expects to be served with
                                                                    23   additional subpoenas as this chapter 7 bankruptcy progresses.
                                                                    24   III.   RELIF REQUESTED
                                                                    25          The Trustee seeks approval to employ Interco, as of December 5, 2019, to act as his field
                                                                    26   agent to perform certain services including, but not limited to, visiting the various sites of the
                                                                    27   Debtor and assessing/accounting for the Debtor’s personal property and/or documents located
                                                                    28   thereon. Due to the volume of documents and property of the Debtor and the numerous locations
                                                                                                                                                           APPLICATION TO
                                                                                                                          5
                                                                                                                                                       EMPLOY FIELD AGENT
                                                                    Case 2:19-bk-23085-BB         Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42                 Desc
                                                                                                   Main Document    Page 6 of 21


                                                                     1   (disclosed and undisclosed) at which such property may be located, the assistance of Interco is
                                                                     2   necessary for the Trustee to promptly administer and/or abandon estate assets of the bankruptcy
                                                                     3   estate and to further preserve and/or make available documents relating to ongoing government
                                                                     4   investigations.
                                                                     5             The Trustee has on previous occasions in other bankruptcy cases, employed field agents to
                                                                     6   perform similar services. The Trustee understands that Interco and its personnel, including its
                                                                     7   principal Tony Shokrai, are well-qualified to provide such services. Therefore, the Trustee seeks
                                                                     8   to employ Interco as his field agent in this case.
                                                                     9             Interco has agreed to render all of the above-described services. The terms on which
                                                                    10   Interco proposes to be employed are at the hourly rate of $200.00 for Mr. Shokrai plus costs and
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                                                                    11   actual out-of-pocket expenses, plus $75.00 to $125.00 per hour for the services of any additional
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                             1900 Avenue of the Stars, 21st Floor




                                                                    12   personnel which Interco uses as part of its operations. The Trustee believes that as an economic
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                                                                    13   measure, it is appropriate and in the best interest of the estate and its creditors to allow the Trustee
                                                                    14   to employ Interco because Interco is familiar with the bankruptcy process and has performed
                                                                    15   similar services in other bankruptcy cases. Attached hereto as Exhibit 1 and incorporated herein
                                                                    16   by this reference is a true and correct copy of the Mr. Shokrai’s resume. The Trustee believes
                                                                    17   that the proposed fee arrangement is reasonable based upon the prevailing fees in the Los Angeles
                                                                    18   area for similar services.
                                                                    19             To the best of the Trustee’s knowledge, and based on the attached Shokrai Declaration,
                                                                    20   Interco represents no other entity in connection with this matter, and other than being employed
                                                                    21   by the Trustee in other matters, has no connection or financial interest in or with the Trustee, the
                                                                    22   Debtor, his creditors, the United States Trustee, any employee of the United States Trustee or any
                                                                    23   other party in interest, and Interco does not represent or hold an interest adverse to the bankruptcy
                                                                    24   estate.
                                                                    25             Effective representation of the Trustee called for Interco to commence rendering services
                                                                    26   on December 5, 2019, which Interco did in the interests of the estate.
                                                                    27   ///
                                                                    28   ///
                                                                                                                                                            APPLICATION TO
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Case 2:19-bk-23085-BB    Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42   Desc
                          Main Document    Page 7 of 21




               January   8   2020



                                                /s/ Jeffrey A. Krieger
                                                                    Case 2:19-bk-23085-BB        Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42                   Desc
                                                                                                  Main Document    Page 8 of 21


                                                                     1                                DECLARATION OF TONY SHOKRAI
                                                                     2       (Pursuant to Rules 2014 and 2016(b) of the Federal Rules of Bankruptcy Procedure)
                                                                     3          I, Tony Shokrai, declare:
                                                                     4          1.      I am the President of Interco Management Corporation (“Interco”), proposed field
                                                                     5   agent for Jason M. Rund, Chapter 7 Trustee (the “Trustee”) of the bankruptcy estate of Debtor
                                                                     6   Youth Policy Institute, Inc. (the “Debtor”). I have personal knowledge of the facts stated below,
                                                                     7   and, if called as a witness, I could and would testify competently thereto.
                                                                     8          2.      Interco was founded in 1986 and concentrates its services in the area of
                                                                     9   representing bankruptcy trustees and state court receivers in the management and administration
                                                                    10   of their estates. Over the past twenty-seven (27) years, Interco represented numerous bankruptcy
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                                                                    11   trustees in the Central District of California and receivers, all as evidenced by Interco’s resume,
                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




                                                                    12   which is attached hereto as Exhibit 1 and is incorporated herein by this reference. Interco has
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                                                                    13   been employed by numerous bankruptcy trustees and bankruptcy estates and has collected,
                                                                    14   inventoried, secured and stored debtor’s property and business records, and collected accounts
                                                                    15   receivables. In addition, Interco has investigated debtors’ business affairs for numerous panel
                                                                    16   trustees and assisted trustees in their administration of their bankruptcy estates.
                                                                    17          3.      Interco carries a general liability insurance policy in the amount of $1 million,
                                                                    18   workers’ compensation policy for $3 million per occurrence, and a fidelity bond.
                                                                    19          4.      The fees to be charged by Interco for the above-described services will be at the
                                                                    20   hourly rate of $200.00 plus costs and actual out-of-pocket expenses, plus $75.00 to $125.00 per
                                                                    21   hour for the services of any additional personnel which Interco uses as part of its operations. I
                                                                    22   believe that the services to be rendered by Interco shall be cost effective as it will be substantially
                                                                    23   less expensive for the Trustee to retain Interco to perform such services, rather than having
                                                                    24   “moving and storage professionals” or other professionals perform these services.
                                                                    25          5.      Interco represents no other entity in connection with this matter, and other than
                                                                    26   being employed by the Trustee in other matters, has no connection or financial interest in or with
                                                                    27   the Trustee, the Debtor, his creditors, the United States Trustee, any employee of the United
                                                                    28   States Trustee or any other party in interest, and represents or holds no interest adverse to the
                                                                                                                                                               DECLARATION OF
                                                                                                                            1
                                                                                                                                                                 TONY SHOKRAI
Case 2:19-bk-23085-BB   Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42   Desc
                         Main Document    Page 9 of 21




                                      2
                                                                    Case 2:19-bk-23085-BB       Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42               Desc
                                                                                                Main Document    Page 10 of 21


                                                                     1                                 DECLARATION OF JASON M. RUND
                                                                     2          I, Jason M. Rund, declare:
                                                                     3          1.      I am the duly appointed and acting chapter 7 Trustee of the bankruptcy estate of
                                                                     4   Youth Policy Institute, Inc. (the “Debtor”). I have personal knowledge of the facts stated below,
                                                                     5   or have gained knowledge of them from pleadings and other documents typically obtained and
                                                                     6   reviewed by trustees administering estates or from the professionals employed to assist me herein,
                                                                     7   and, if called as a witness, I could and would testify competently thereto.
                                                                     8          2.      I submit this Declaration in support of the accompanying Chapter 7 Trustee’s
                                                                     9   Application to Employ Interco Management Corporation as Trustee’s Field Agent (the
                                                                    10   “Application”). Capitalized terms not otherwise defined herein shall have the meanings ascribed
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                                                                    11   to them in the Application.
                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




                                                                    12          3.      On the Petition Date, I was duly appointed the chapter 7 trustee pursuant to section
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                                                                    13   701 of the Bankruptcy Code. The first chapter 7 meeting of creditors pursuant to section 341(a)
                                                                    14   of the Bankruptcy Code (the “341(a) Meeting”) was held on December 11, 2019 at 9:00 a.m., at
                                                                    15   which the Debtor’s representatives appeared. The 341(a) Meeting has since been continued to
                                                                    16   January 7, 2020 at 2:30 p.m.
                                                                    17          4.      I understand that the Debtor’s filed Schedules, Statement of Financial Affairs and
                                                                    18   other case commencement documents [Docket Nos. 15 & 16] (collectively, the “Schedules and
                                                                    19   SOFA”), SOFA have been prepared by the interim management of the Debtor. I further
                                                                    20   understand that much interim management began work for the Debtor no earlier than the end of
                                                                    21   July 2019 and only officially oversaw the Debtor’s affairs since September 2019. As a result, the
                                                                    22   Debtor’s interim management has included with the Schedules and SOFA a number of
                                                                    23   reservations, disclaimers and comments which note, among other things: (1) the Schedules and
                                                                    24   SOFA were prepared by the interim management of the Debtor, who had only directly overseen
                                                                    25   the Debtor’s affairs since September 2019; (2) the Debtor’s former CFO also resigned effective
                                                                    26   September 20, 2019; (3) the Debtor’s financial reporting system has not been fully integrated with
                                                                    27   all transaction information and cash accounts have not reconciled for over a year; and (4) much of
                                                                    28
                                                                                                                                                         DECLARATION OF
                                                                                                                           1
                                                                                                                                                           JASON M. RUND
                                                                    Case 2:19-bk-23085-BB        Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42                  Desc
                                                                                                 Main Document    Page 11 of 21


                                                                     1   the information in the Schedules and SOFA was based on the information and belief of the
                                                                     2   interim management.
                                                                     3          5.      Despite being prepared by interim management based on limited information, the
                                                                     4   Schedules and SOFA provide a valuable snapshot of the Debtor’s affairs. The Schedules and
                                                                     5   SOFA, disclose, among other things, approximately 981 unsecured creditors – 834 priority
                                                                     6   unsecured creditors consisting primarily of wage claimants, and 147 general unsecured creditors.
                                                                     7   The Schedules and SOFA further disclose over $9.2 million in assets and approximately $12.2
                                                                     8   million in liabilities, including a secured liability of approximately $4.35 million owed to
                                                                     9   NonProfit Finance Fund (“NFF”). The most significant asset categories disclosed by the Debtor
                                                                    10   are “accounts receivable” – consisting generally of approximately $1.55 million in current, and
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                                                                    11   approximately $1.1 million in overdue, accounts, and “other property” of approximately $5.4
                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




                                                                    12   million in “unbilled” grants. I understand that most, if not all, of these assets relate to various
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                                                                    13   government grants for programs previously conducted and are likely subject to certain reporting
                                                                    14   requirements and may be further subject to certain government agency claims.
                                                                    15          6.      The Schedules and SOFA also disclose certain causes of action against Mr.
                                                                    16   Slingerland in the aggregate amount of approximately $1.77 million, the collection of which I
                                                                    17   believe may require litigation and may implicate certain pre-petition insurance policies held by
                                                                    18   the Debtor.
                                                                    19          7.      The Schedules and SOFA further disclose that prior to the Petition Date, the
                                                                    20   Debtor was party to a commercial lease of certain real property located at 2707-11 Beverly Blvd.,
                                                                    21   Los Angeles, CA 90057 (the “Beverly Facility”). I have visited the Beverly Facility and has
                                                                    22   observed that a substantial amount of personal property of the Debtor remains at the Beverly
                                                                    23   Facility, including but not limited to furniture, fixtures and equipment; supplies used for the
                                                                    24   Debtor’s various after-school and related programs; and paper records.
                                                                    25          8.      The Schedules and SOFA further disclose the Debtor was party to pre-petition
                                                                    26   leases at the following locations, some or all of which may contain personal property and
                                                                    27   documents of the Debtor: (a) Pacoima/North Valley Worksource Center, 1201 Truman St., Suite
                                                                    28   A, San Fernando CA 91340; (b) the Debtor’s former headquarters at 6464 Sunset Blvd., Suite

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                                                                    Case 2:19-bk-23085-BB          Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42               Desc
                                                                                                   Main Document    Page 12 of 21


                                                                     1   650, Los Angeles, CA 90028; (c) Hollywood Family Source Center, Units 110-113, 1075 N.
                                                                     2   Western Ave., Los Aneles CA 90038; and (d) WorkSource Center (Temp. Site) 13420 Van Nuys
                                                                     3   Blvd., Suite 221, Pacoima, CA 91331.
                                                                     4          9.         The Schedules and SOFA further disclose three off-site storage facilities, at which
                                                                     5   certain of the Debtor’s personal property and documents are stored: (a) Arleta Storage, 8918
                                                                     6   Woodman Ave., Arleta, CA 91331; (b) Iron Mountain, 100 Campus Dr., Collegeville, PA 19426;
                                                                     7   and (c) Nova Storage, 13043 Foothill Blvd., Sylmar, CA 91342. I have also come to learn that
                                                                     8   certain personal property of the Debtor is being held at the following locations, which were not
                                                                     9   disclosed by the Debtor in the Schedules and SOFA: (a) Extra Space Storage, 4728 Fountain, Los
                                                                    10   Angeles CA 90028; and (b) San Fernando Gardens Community Center, 10896 Lehigh Ave,
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                                                                    11   Pacoima, CA 91331. As the Debtor conducted programs at numerous sites in the greater Los
                             Los Angeles, California 90067-4590
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                                                                    12   Angeles area, I anticipate there may be additional personal property of the Debtor held at
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                                                                    13   currently unknown locations.
                                                                    14          10.        Due to the volume of documents and property of the Debtor and the numerous
                                                                    15   locations (disclosed and undisclosed) at which such property may be located, the assistance of
                                                                    16   Interco is necessary to promptly administer and/or abandon estate assets of the bankruptcy estate
                                                                    17   and to further preserve and/or make available documents relating to ongoing government
                                                                    18   investigations.
                                                                    19          11.        I have on previous occasions in other bankruptcy cases, employed field agents to
                                                                    20   perform similar services. I understand that Interco and its personnel, including its principal Tony
                                                                    21   Shokrai, are well-qualified to provide such services.
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Case 2:19-bk-23085-BB   Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42   Desc
                        Main Document    Page 13 of 21
                                                                    Case 2:19-bk-23085-BB   Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42   Desc
                                                                                            Main Document    Page 14 of 21


                                                                     1                                      EXHIBIT 1
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GREENBERG GLUSKER FIELDS CLAMAN




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                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




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       & MACHTINGER LLP




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                                                                                                                                         DECLARATION OF
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                                                                                                                                           JASON M. RUND
Case 2:19-bk-23085-BB   Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42   Desc
                        Main Document    Page 15 of 21
                                                                    Case 2:19-bk-23085-BB   Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42   Desc
                                                                                            Main Document    Page 16 of 21


                                                                     1                                      EXHIBIT 2
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GREENBERG GLUSKER FIELDS CLAMAN




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                             Los Angeles, California 90067-4590
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       & MACHTINGER LLP




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                                                                                                Main Document    Page 17 of 21


                                                                     1    JEFFREY A. KRIEGER (SBN 156535)
                                                                          JKrieger@GreenbergGlusker.com
                                                                     2    KEITH PATRICK BANNER (SBN 259502)
                                                                          KBanner@GreenbergGlusker.com
                                                                     3    GREENBERG GLUSKER FIELDS CLAMAN
                                                                          & MACHTINGER LLP
                                                                     4    1900 Avenue of the Stars, 21st Floor
                                                                          Los Angeles, California 90067-4590
                                                                     5    Telephone: 310.553.3610
                                                                          Fax: 310.553.0687
                                                                     6
                                                                          Proposed Attorneys for Jason M. Rund,
                                                                     7    Chapter 7 Trustee
                                                                     8
                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                     9
                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                    10
                                                                                                            LOS ANGELES DIVISION
GREENBERG GLUSKER FIELDS CLAMAN




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                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




                                                                    12
                                                                          In re:                                            Case No. 2:19-bk-23085-BB
       & MACHTINGER LLP




                                                                    13
                                                                          YOUTH POLICY INSTITUTE, INC.,                     Chapter 7
                                                                    14
                                                                                             Debtor.                        NOTICE OF CHAPTER 7 TRUSTEE’S
                                                                    15                                                      APPLICATION TO EMPLOY INTERCO
                                                                                                                            MANAGEMENT CORPORATION AS
                                                                    16                                                      TRUSTEE’S FIELD AGENT

                                                                    17                                                      [NO HEARING REQUIRED]

                                                                    18
                                                                    19
                                                                    20             TO THE HONORABLE SHERI BLUEBOND, UNITED STATES BANKRUPTCY

                                                                    21   JUDGE, THE DEBTOR, THE UNITED STATES TRUSTEE, AND ALL PARTIES-IN-

                                                                    22   INTEREST HEREIN:

                                                                    23             PLEASE TAKE NOTICE that Jason M. Rund, Chapter 7 Trustee (the “Trustee”) of the

                                                                    24   bankruptcy estate of Debtor Youth Policy Institute, Inc. (the “Debtor”), has filed his application

                                                                    25   (the “Application”) for authority to employ, pursuant to sections 327(a) and 330 of title 11 of the

                                                                    26   United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), Interco Management

                                                                    27   Corporation (“Interco”) as his field agent, effective as of December 5, 2019. As set forth in

                                                                    28   detail in the Application, Interco will render field agent services required by the Trustee during

                                                                                                                                                   NOTICE OF APPLICATION
                                                                                                                                                  TO EMPLOY FIELD AGENT
                                                                    Case 2:19-bk-23085-BB        Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42                  Desc
                                                                                                 Main Document    Page 18 of 21


                                                                     1   his administration of the case, including, but not limited to, visiting the various sites of the Debtor
                                                                     2   and assessing/accounting for the Debtor’s personal property and/or documents located thereon.
                                                                     3   Due to the volume of documents and property of the Debtor and the numerous locations
                                                                     4   (disclosed and undisclosed) at which such property may be located, the assistance of Interco is
                                                                     5   necessary for the Trustee to promptly administer and/or abandon estate assets of the bankruptcy
                                                                     6   estate and to further preserve and/or make available documents relating to ongoing government
                                                                     7   investigations.
                                                                     8           PLEASE TAKE FURTHER NOTICE that the relief requested is based on the
                                                                     9   Application, the Declaration of Tony Shokrai and Declaration of Jason M. Rund respectively
                                                                    10   attached thereto, this Notice, the arguments of counsel, and other admissible evidence properly
GREENBERG GLUSKER FIELDS CLAMAN




                                                                    11   brought before the Court. In addition, the Trustee respectfully requests that the Court take
                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




                                                                    12   judicial notice of the case docket and all pleadings filed in the above captioned bankruptcy case,
       & MACHTINGER LLP




                                                                    13   including the specific pleadings referenced in the Application.
                                                                    14          PLEASE TAKE FURTHER NOTICE that the Trustee seeks to employ Interco at its
                                                                    15   regular billing rates of $200.00 per hour for Tony Shokrai plus costs and actual out-of-pocket
                                                                    16   expenses, plus $75.00 to $125.00 per hour for the services of any additional personnel which
                                                                    17   Interco uses as part of its operations, as more fully described in the Application, subject to the
                                                                    18   Bankruptcy Court’s approval of Interco’s compensation and reimbursement of costs as provided
                                                                    19   by the Bankruptcy Code, specifically sections 330 and 331, the Federal Rules of Bankruptcy
                                                                    20   Procedure, and the Local Bankruptcy Rules.
                                                                    21          Interco will only seek compensation pursuant to sections 330 and 331 of the Bankruptcy
                                                                    22   Code. All compensation will be paid from the funds of the Debtor’s bankruptcy estate. Interco
                                                                    23   has not received any retainer with respect to its employment.
                                                                    24   ///
                                                                    25   ///
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                                                                                                                                                     NOTICE OF APPLICATION
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                                                                    Case 2:19-bk-23085-BB       Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42                Desc
                                                                                                Main Document    Page 19 of 21


                                                                     1          A copy of the Trustee’s Application can be obtained from the Bankruptcy Court or by
                                                                     2   contacting:
                                                                                               Jeffrey A. Krieger, Esq.
                                                                     3                         Keith Patrick Banner, Esq.
                                                                                               GREENBERG GLUSKER FIELDS CLAMAN & MACHTINGER LLP
                                                                     4                         1900 Avenue of the Stars, 21st Floor
                                                                                               Los Angeles, California 90067
                                                                     5                         Telephone: 310.553.3610
                                                                                               Facsimile: 310.553.0687
                                                                     6                         Email: JKrieger@GreenbergGlusker.com
                                                                                                       KBanner@GreenbergGlusker.com
                                                                     7
                                                                                PLEASE TAKE FURTHER NOTICE that in accordance with Local Bankruptcy Rules
                                                                     8
                                                                         2014-1(b)(3)(E) and 9013-1(o)(1), any response to the Application and request for hearing must
                                                                     9
                                                                         be in the form required by Local Bankruptcy Rule 9013-1(f)(1) and must be filed with the Court
                                                                    10
                                                                         and served on: (i) the Trustee at 840 Apollo Street, Suite 351, El Segundo, California 90245;
GREENBERG GLUSKER FIELDS CLAMAN




                                                                    11
                                                                         (ii) his proposed general bankruptcy counsel, Greenberg Glusker Fields Claman & Machtinger
                             Los Angeles, California 90067-4590
                             1900 Avenue of the Stars, 21st Floor




                                                                    12
                                                                         LLP, Attn: Jeffrey A. Krieger, Esq. and Keith Patrick Banner, Esq., 1900 Avenue of the Stars,
       & MACHTINGER LLP




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                                                                         21st Floor, Los Angeles, California 90067; (iii) his proposed field agent, Interco Management
                                                                    14
                                                                         Corporation, Attn: Tony Shokrai, 2118 Wilshire Boulevard, Suite 717, Santa Monica, CA 90403;
                                                                    15
                                                                         and (iv) the Office of the United States Trustee, located at 915 Wilshire Blvd., Suite 1850, Los
                                                                    16
                                                                         Angeles, California 90017, within seventeen (17) days from the date of service of this Notice.
                                                                    17
                                                                                If you fail to file a written response within seventeen (17) days from the date of the
                                                                    18
                                                                         service of this Notice of the Application, the Bankruptcy Court may treat such failure as a waiver
                                                                    19
                                                                         of your right to oppose the Application and may grant the requested relief.
                                                                    20
                                                                    21
                                                                          DATED: January 8, 2020                           GREENBERG GLUSKER FIELDS CLAMAN
                                                                    22                                                     & MACHTINGER LLP
                                                                    23
                                                                    24                                                     By: /s/ Jeffrey A. Krieger
                                                                                                                              JEFFREY A. KRIEGER
                                                                    25                                                        KEITH PATRICK BANNER
                                                                                                                              Proposed Attorneys for Jason M. Rund,
                                                                    26                                                        Chapter 7 Trustee
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                                                                                                                                                   NOTICE OF APPLICATION
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            Case 2:19-bk-23085-BB                  Doc 61 Filed 01/08/20 Entered 01/08/20 15:42:42                                      Desc
                                                   Main Document    Page 20 of 21



                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1900 Avenue of the Stars, 21st Fl. Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): CHAPTER 7 TRUSTEE’S APPLICATION TO
EMPLOY INTERCO MANAGAMENT CORPORATION AS TRUSTEE’S FIELD AGENT; DECLARATIONS OF TONY
SHOKRAI AND JASON M. RUND IN SUPPORT will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 8, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 8, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Debtor
Youth Policy Institute, Inc.
6464 Sunset Blvd., Ste. 650
Los Angeles, CA 90028

                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) January 8, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                     Service information continued on attached page

Via Messenger
The Honorable Sheri Bluebond
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Ste. 1534
Los Angeles, CA 90012

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

January 8, 2020                 Julie King                                                      /s/ Julie King
 Date                           Printed Name                                                     Signature



             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                            F 9013-3.1.PROOF.SERVICE
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                                                   Main Document    Page 21 of 21


1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):



        Keith Patrick Banner kbanner@greenbergglusker.com,
         sharper@greenbergglusker.com;calendar@greenbergglusker.com
        Robert D Bass bob.bass47@icloud.com
        Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
        Jeffrey A Krieger jkrieger@ggfirm.com,
         kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
        David W. Meadows david@davidwmeadowslaw.com
        Kevin Meek kmeek@robinskaplan.com, kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com
        Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
        Jason M Rund (TR) trustee@srlawyers.com, jrund@ecf.axosfs.com
        Matthew N Sirolly msirolly@dir.ca.gov
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Genevieve G Weiner gweiner@sidley.com, laefilingnotice@sidley.com;genevieve-weiner-
         0813@ecf.pacerpro.com




             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                            F 9013-3.1.PROOF.SERVICE
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